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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

SYMBOLOGY INNOVATIONS, LLC                      §
                                                §
       Plaintiff,                               §            Case No:
                                                §
vs.                                             §            PATENT CASE
                                                §
                                                §
THE ALLSTATE CORPORATION and                    §
ALLSTATE INSURANCE COMPANY                      §
                                                §
       Defendants.                              §


                                           COMPLAINT

       Plaintiff Symbology Innovations, LLC (“Plaintiff” or “Symbology”) files this

Complaint against The Allstate Corporation (“Defendant” or “Allstate Corp.”) and Allstate

Insurance Company (“Defendant” or “Allstate Insurance”) (collectively, “Defendants or

“Allstate”) for infringement of United States Patents No. 8,424,752, No. 8,651,369, and No.

8,936,190 (hereinafter “the ‘752 Patent,” “the ‘369 Patent,” and “the ‘190 Patent”).

                              PARTIES AND JURISDICTION

       1.      This is an action for patent infringement under Title 35 of the United States

Code. Plaintiff is seeking injunctive relief as well as damages.

       2.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

       3.      Plaintiff is a Texas limited liability company with its principal office located at

1400 Preston Road, Suite 400, Plano, Texas 75093.

       4.      On information and belief, Allstate Corp. is a Delaware corporation with a



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principal place of business in Northbrook, Illinois. Allstate Corp. has a registered agent in CT

Corporation System, 208 S. LaSalle St., Suite 814, Chicago, IL 60604. Upon information and

belief, Allstate Corp. serves as the holding company for Allstate Insurance Company and its

business is conducted principally through Allstate Insurance, Allstate Life Insurance Company

and their affiliates.

        5.      Allstate Insurance is incorporated in Illinois and has a principal place of

business in Northbrook, Illinois. Allstate Insurance can be served at 2775 Sanders Road,

Northbrook, IL 60062.

        6.      This Court has personal jurisdiction over Defendants because Defendants have

committed, and continue to commit, acts of infringement in the state of Texas, have conducted

business in the state of Texas, and/or have engaged in continuous and systematic activities in

the state of Texas.

        7.      Upon information and belief, Defendants’ instrumentalities that are alleged

herein to infringe were and continue to be used, imported, offered for sale, and/or sold in the

Eastern District of Texas.

                                              VENUE

        8.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§

1391(c) and 1400(b) because Defendants are deemed to reside in this District. In addition, and

in the alternative, Defendants have committed acts of infringement in this District.

                                   COUNT I
              (INFRINGEMENT OF UNITED STATES PATENT NO. 8,424,752)

        9.      Plaintiff incorporates paragraphs 1 through 8 herein by reference.

        10.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.


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       11.     Plaintiff is the owner by assignment of the ‘752 Patent with sole rights to

enforce the ‘752 Patent and sue infringers.

       12.     A copy of the ‘752 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit A.

       13.     The ‘752 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       14.     Upon information and belief, Defendants have infringed and continue to

infringe one or more claims, including at least Claim 1, of the ‘752 Patent by making, using,

and/or printing Quick Response Codes (QR codes) covered by one or more claims of the ‘752

Patent. Defendants have infringed and continue to infringe the ‘752 Patent either directly or

through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       15.     Defendants have made, used, and/or printed QR codes on printed and/or

electronic media, including advertising and packaging, associated with select products. One

specific instance of Defendant’s activity involves the use of QR Codes on a website in

connection with advertising a product known as the Drivewise® Mobile app. A user scanning

the QR Code provided on the webpage is provided access to the Drivewise® Mobile app. The

website also provides information to a user as to how to download a scanning app and scan the

QR code. The use of QR codes in this manner infringes at least Claim 1 of the ‘752 Patent.

Upon being scanned, the QR code remotely transmits information regarding the product to the

user via a device, such as a smart phone, for example.

       16.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       17.     Defendants’ actions complained of herein are causing irreparable harm and



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monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

       18.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT II
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,651,369)

       19.     Plaintiff incorporates paragraphs 1 through 18 herein by reference.

       20.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       21.     Plaintiff is the owner by assignment of the ‘369 Patent with sole rights to

enforce the ‘369 Patent and sue infringers.

       22.     A copy of the ‘369 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit B.

       23.     The ‘369 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       24.     Upon information and belief, Defendants have infringed and continue to

infringe one or more claims, including at least Claim 1, of the ‘369 Patent by making, using,

and/or printing Quick Response Codes (QR codes) covered by one or more claims of the ‘369

Patent. Defendants have infringed and continue to infringe the ‘369 Patent either directly or

through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.

       25.     Defendants have made, used, and/or printed QR codes on printed and/or

electronic media, including advertising and packaging, associated with select products. One

specific instance of Defendants’ activity involves the use of QR Codes on a website in

connection with advertising a product known as the Drivewise® Mobile app. A user scanning

the QR Code provided on the webpage is provided access to the Drivewise® Mobile app. The


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website also provides information to a user as to how to download a scanning app and scan the

QR code. The use of QR codes in this manner infringes at least Claim 1 of the ‘369 Patent.

Upon being scanned, the QR code remotely transmits information regarding the product to the

user via a device, such as a smart phone, for example.

       26.     Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

       27.     Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

       28.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                 COUNT III
             (INFRINGEMENT OF UNITED STATES PATENT NO. 8,936,190)

       29.     Plaintiff incorporates paragraphs 1 through 28 herein by reference.

       30.     This cause of action arises under the patent laws of the United States and, in

particular, under 35 U.S.C. §§ 271, et seq.

       31.     Plaintiff is the owner by assignment of the ‘190 Patent with sole rights to

enforce the ‘190 patent and sue infringers.

       32.     A copy of the ‘190 Patent, titled “System and Method for Presenting

Information about an Object on a Portable Electronic Device,” is attached hereto as Exhibit C.

       33.     The ‘190 Patent is valid, enforceable, and was duly issued in full compliance

with Title 35 of the United States Code.

       34.     Upon information and belief, Defendants have infringed and continue to

infringe one or more claims, including at least Claim 1, of the ‘190 Patent by making, using,

and/or printing Quick Response Codes (QR codes) covered by one or more claims of the ‘190


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Patent. Defendants have infringed and continue to infringe the ‘190 Patent either directly or

through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.

          35.   Defendants have made, used, and/or printed QR codes on printed and/or

electronic media, including advertising and packaging, associated with select products. One

specific instance of Defendant’s activity involves the use of QR Codes on a website in

connection with advertising a product known as the Drivewise® Mobile app. A user scanning

the QR Code provided on the webpage is provided access to the Drivewise® Mobile app. The

website also provides information to a user as to how to download a scanning app and scan the

QR code. The use of QR codes in this manner infringes at least Claim 1 of the ‘190 Patent.

Upon being scanned, the QR code remotely transmits information regarding the product to the

user via a device, such as a smart phone, for example.

          36.   Defendants’ actions complained of herein will continue unless Defendants are

enjoined by this court.

          37.   Defendants’ actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendants are

enjoined and restrained by this Court.

          38.   Plaintiff is in compliance with 35 U.S.C. § 287.

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff asks the Court to:

          (a)   Enter judgment for Plaintiff on this Complaint on all causes of action asserted

herein;

          (b)   Enter an Order enjoining Defendants, their agents, officers, servants,

employees, attorneys, and all persons in active concert or participation with Defendants who



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receive notice of the order from further infringement of United States Patents No. 8,424,752,

No. 8,651,369, and No. 8,936,190 (or, in the alternative, awarding Plaintiff running royalties

from the time of judgment going forward);

       (c)    Award Plaintiff damages resulting from Defendants’ infringement in

accordance with 35 U.S.C. § 284;

       (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and

       (e)    Award Plaintiff such further relief to which the Court finds Plaintiff entitled

under law or equity.




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Dated: June 30, 2015

                                 Respectfully submitted,



                                     /s/ Jay Johnson
                                 JAY JOHNSON
                                 State Bar No. 24067322
                                 D. BRADLEY KIZZIA
                                 State Bar No. 11547550
                                 ANTHONY RICCIARDELLI
                                 State Bar No. 24070493
                                 KIZZIA & JOHNSON PLLC
                                 750 N. St. Paul Street, Suite 1320
                                 Dallas, Texas 75201
                                 (214) 613-3350
                                 Fax: (214) 613-3330
                                 jay@brownfoxlaw.com
                                 brad@brownfoxlaw.com
                                 anthony@brownfoxlaw.com
                                 ATTORNEYS FOR PLAINTIFF




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                               EXHIBIT B
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                               EXHIBIT C
